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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 MARIANO MALDONADO PAGAN
 Plaintiff                                               CIVIL 10-1488CCC
 vs
 ADMINISTRACION DE
 CORRECCION; ATTORNEY
 GENERAL OF PUERTO RICO
 Defendant


                                    OPINION AND ORDER

       Before the Court is Petitioner Mariano Maldonado Pagán’s (hereinafter
“Petitioner” or “Maldonado Pagán”) 28 U.S.C. § 2254 habeas corpus petition
filed on June 3, 2010 (d.e. 1)1. Respondents Administración de Corrección and
the Secretary of Justice’s (hereinafter “ Respondents”) Motion to Dismiss the
Petition was filed on January 18, 2017 (d.e. 85). On March 6, 2018, Petitioner
filed a Motion to Submit New Evidence2 (d.e. 86). For the reasons discussed
below, the Court finds the Petition shall be DISMISSED FOR LACK OF
JURISDICTION.
I.     BACKGROUND
       Petitioner Maldonado Pagán is a state prisoner presently confined in a
penal institution of the Commonwealth of Puerto Rico. Petitioner filed habeas
corpus before this Court alleging that he was under the influence of three
different medications that impeded his understanding at the time of his guilty
plea, and that his attorney did not give him adequate legal representation. On

       1
           “d.e.” is an abbreviation for “docket entry number”.
       2
        The motions’ complete tittle is “Motion to submit new evidence in support of the arguments,
that [were] not available when . . . the habeas petition [was filed] on June 3, 2010.”
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April 27, 2011, the Court entered Judgment dismissing the case without
prejudice for lack of diligent prosecution (d.e. 5). On June 6, 2011, Petitioner
filed a Notice of Appeal as to Judgment (d.e. 10). On May 21, 2012, the Court
of Appeals entered Judgment vacating the Court’s Judgment and remanding
the case for further proceedings (d.e. 20).3 On February 14, 2014, Petitioner
field a Motion for a Writ of Mandamus (d.e. 49). On April 24, 2014, the Court
entered Order denying the motion for a writ of mandamus (d.e. 50), and on
July 21, 2014, the Court of Appeals entered Judgment denying the petition for
a writ of mandamus (d.e. 52).
      On August 11, 2014, the Court issued an Opinion and Order dismissing
Petitioner’s writ of habeas corpus pursuant to 18 U.S.C. § 2254 for being
untimely and failing to provide any explanation that would toll the statute’s of
limitation (d.e. 53). Judgment was entered on August 12, 2014 (d.e. 54). On
September 12, 2014, Petitioner filed a Notice of Appeal (d.e. 57).                               On
October 13, 2015, the Court of Appeals entered Judgment vacating the
Judgment of the District Court and remanding the matter to employ the
procedure set out in Day v. McDonough, 547 U.S. 198 (2006) which requires
that the parties be given a meaningful opportunity to state their positions with
respect to a petition of timeliness (d.e. 63).4 On March 28, 2016, Petitioner


       3
         The Judgment indicated that the “district court had abused its discretion in dismissing the
habeas petition sua ponte for lack of prosecution without first providing both advance notice to the
petitioner of the court’s intent to dismiss and an opportunity to cure.” Mandate was entered on
June 12, 2012 (d.e. 22).
       4
         The Appeals Court indicated that the “Commonwealth did not move to dismiss on statute
of limitations grounds, and the district court did not warn petitioner that the court was considering
a sua ponte dismissal on statute of limitations grounds.” Mandate was entered on November 6,
2014 (d.e. 64).
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filed an Amended Complaint (d.e. 70), and on August 1, 2016, the Court issued
an Order dismissing the amended petition because it was not verified
(d.e. 71)5. Respondents filed a Motion to Dismiss pursuant to Fed. R. Civ.
P. 12(B)(1) and 12(B)(6) (d.e. 85).
II.    DISCUSSION
       Pursuant to federal law, a prisoner who claims he is being held by the
state government in violation of the Constitution or laws of the United States
may file a civil lawsuit in federal court seeking a writ of habeas corpus pursuant
to 28 U.S.C. § 2254. A federal court’s review of a 28 U.S.C. § 2254 petition is
not a direct review of a state court’s decision. The petition is a separate civil
suit considered as collateral relief.          The federal habeas corpus is not a
constitutional, but rather a statutory relief codified in 28 U.S.C. § 2254.
       Prisoners in state custody who choose to collaterally challenge their
confinement in a federal habeas proceeding are required to comply with the
“independent and adequate state ground doctrine.” See Yeboah-Sefah v.
Ficco, 556 F.3d 53 (1st Cir. February 19, 2009); citing Coleman v. Thompson,
501 U.S. 722, 730-31 (1991).             As such, Petitioner must meet two initial
requirements. First, Petitioner is required to exhaust state judicial remedies,
either on direct appeal or through collateral proceedings. The highest state
court available must have a fair opportunity to rule on the merits of each and
every claim which petitioner seeks to raise in federal court. In order to fulfill
this exhaustion requirement, the Petitioner must have fairly presented the

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        On August 1, 2016, the Court issued an Order notifying Maldonado Pagán that it was
contemplating the dismissal of his petition as untimely, and requesting his position on the
timeliness of the petition (d.e. 71). The record does not reflect any additional information or
documents that would establish that his petition should be treated as timely.
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substance of all of his federal constitutional claims to the highest state court.
Levine v. Commissioner of Correctional Servs., 44 F.3d 121, 24
(2nd Cir. 1995).
      The state court must have been appraised of both the factual and legal
base of those claims. Grey v. Hoke, 933 F.2d 117, 119 (2nd Cir. 1991). The
United States Supreme Court has held that in order to satisfy the exhaustion
requirement, a petitioner requesting federal habeas corpus review is required
to present claims to the state supreme court even when its review is
discretionary. O’Sullivan v. Boerckel, 526 U.S. 838 (1999). The burden of
providing that a federal habeas claim has been exhausted in state court lies
with the petitioner. Maldonado Pagán, however, has not met this initial burden.
      In the Commonwealth of Puerto Rico, there is a two-tier system for post
conviction relief. In order for Petitioner to exhaust his state court remedies,
Petitioner must file a Rule 192.1 motion pursuant to the Puerto Rico Rules of
Criminal Procedure requesting the trial court to vacate, set aside, or correct the
judgment (34 L.P.R.A. App. II, Rule 192.1), or a petition pursuant to
section 1741 of the Code of Criminal Procedure requesting a writ of habeas
corpus (34 L.P.R.A. §§ 1741-1743).          An appeal may be filed from the
subsequent denial of a Rule 192.1 motion or of a section 1741 habeas petition.
Once any of the two appeals is denied by the Puerto Rico Court of Appeals,
then Petitioner must file a writ of certiorari to the Supreme Court of Puerto
Rico, Id. Thus, pursuant to Puerto Rico law, in order for Petitioner to properly
file a section 2254 petition for relief before this Federal Court, he must first
exhaust at least one of the two post-conviction remedies provided by the
Commonwealth laws, either a Rule 192.1 motion or a habeas corpus petition
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pursuant    to   section   1741    of   the   Code    of   Criminal   Procedure
(P.R.L.A. 34 § 1779), all the way until final review by the Supreme Court of
Puerto Rico.
      In the instant case, Maldonado Pagán has failed to show that he
exhausted either of the two local post-conviction remedies. The record reflects
that Petitioner did not file an appeal of his conviction before the Puerto Rico
Court of Appeals. Instead, five years later, on April 21, 1997, he filed a pro se,
state habeas corpus petition before the Puerto Rico Supreme Court. Although
the Supreme Court denied it without comment, the petition was improperly
presented pursuant to § 1741 of the Puerto Rico Code of Criminal Procedure,
which requires petitioners to file a Rule 192.1 motion in the trial court prior to
seeking habeas relief. P.R. Laws Ann. Tit. 34, § 1741(c). On May 22, 1998,
Maldonado Pagán filed a pro se Rule 192.1 motion before the trial court. The
petition was denied, and Maldonado Pagán did not appeal the denial in the
state courts. Neither petitioner, who has the burden of showing exhaustion
requirements, nor Respondents have submitted any additional information or
documents that would establish that Petitioner exhausted his state remedies.
Therefore, this Court lacks jurisdiction to entertain this petition; the Motion to
Dismiss Pursuant to Fed. R. Civ. P. 12(B)(1) and 12(B)(6) filed by the
Administración de Corrección and the Secretary of Justice (d.e. 85) is
GRANTED and the Habeas Corpus Petition is hereby DISMISSED.
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III.    CONCLUSION
        For the reasons stated, the Court concludes that Petitioner Mariano
Maldonado Pagán’s Petition for Habeas Corpus Relief Pursuant to 28 U.S.C.
§ 2254 (d.e. 1) is DISMISSED, without prejudice. Judgment to be entered.
        SO ORDERED.
        At San Juan, Puerto Rico, on August 27, 2018.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
